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 8
                          UNITED STATES DISTRICT COURT
 9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   United States of America           CASE NO.: 2:22-mj-04385
12               Plaintiff,
                                        DEFENDANT CHRISTOPHER K.
13         v.                           KAMON’S MEMORANDUM IN
                                        SUPPORT OF PRE-TRIAL RELEASE
14   Christopher K. Kamon,              AND PROPOSED BOND CONDITIONS
15               Defendant.             Date: December 28, 2022
                                        Time: 9:00 a.m.
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         DEFENDANT’S MEMORANDUM IN SUPPORT OF PRE-TRIAL RELEASE AND
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 1        Defendant Christopher K. Kamon (“Mr. Kamon” or “Defendant”) hereby
 2 submits this request for pre-trial release and proposed bond conditions. This request

 3 is based on the attached Memorandum of Points and Authorities, the report from

 4 United States Pretrial Services, and any other evidence and argument that may be

 5 presented at the hearing or otherwise.

 6

 7 DATED: December 23, 2022         Respectfully submitted,
 8                                  SKADDEN, ARPS, SLATE, MEAGHER &
                                    FLOM LLP
 9
                                                 /s/ Jack P. DiCanio
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                                                     Jack P. DiCanio
11                                   Attorneys for Defendant Christopher K. Kamon
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      Introduction
 3         Mr. Kamon is charged in a one-count complaint of violating 18 U.S.C. § 1343
 4 (wire fraud), stemming from his former employment as a bookkeeper for the now-

 5 defunct Girardi Keese law firm (the “Firm”). This is a non-violent offense. It is

 6 uncontested that Mr. Kamon has no prior criminal history and poses no threat or danger

 7 to the community. Accordingly, the only question the Government presents for pre-

 8 trial detention is whether Mr. Kamon is a flight risk.

 9         But nothing in Mr. Kamon’s past or present conduct suggests that he is a flight
10 risk. To the contrary, while the Government rests heavily on Mr. Kamon’s move this

11 past autumn to The Bahamas (which has an extradition treaty with the U.S.), the

12 evidence demonstrates that Mr. Kamon was fully transparent about his move to The

13 Bahamas and was not trying to hide his whereabouts.

14         In any event, the terms of his proposed conditions of pre-trial release will
15 strongly mitigate any potential concerns from the Government and reasonably assure

16 his appearance at any trial. Mr. Kamon therefore respectfully requests that the Court

17 grant his request for pre-trial release with reasonable bond conditions.

18 II.     Background
19         Mr. Kamon spent nearly two decades working in the Firm’s accounting
20 department. The Firm’s well-publicized demise occurred in 2020. Given the celebrity

21 status of the Firm’s founder, Tom Girardi, and his now ex-wife Erika Girardi (a/k/a

22 Erika Jayne), the fallout of the Firm’s collapse has attracted widespread media

23 attention. It also left Mr. Kamon unemployed.

24         Mr. Kamon has been aware of the litigation, bankruptcy proceedings, and
25 government investigations relating to the Firm that have been occurring over the last

26 two years. In fact, Mr. Kamon cooperated with the bankruptcy trustee. For example,

27 he and the trustee entered into an agreement by which Mr. Kamon voluntarily sent

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 1 assure” the person’s appearance or “will endanger the safety of any other person or the

 2 community.”

 3         Even if conditions upon release are necessary to reasonably assure appearance
 4 of the defendant or the community’s safety, section 3142(c) of the Act still mandates

 5 release provided that certain conditions are imposed. The conditions, if set, must be

 6 the least restrictive. In assessing “whether there are conditions of release that will

 7 reasonably assure the appearance of the person as required and the safety of any other

 8 person and the community,” section 3142(g) of the Act requires the Court to look at

 9 four factors:

10                 (1) the nature and circumstances of the offense charged,
11                 including whether the offense is a crime of violence […];
12                 (2) the weight of the evidence against the person;
13                 (3) the history and characteristics of the person […]; and
14                 (4) the nature and seriousness of the danger to any person or
15                 the community that would be posed by the person’s release.
16         Under the Act, “the government bears the burden of proving that a defendant
17 poses a risk of flight and/or a danger to the community that cannot be mitigated

18 through the imposition of conditions of release.” United States v. Benson, No. CR-12-

19 00480 (KAW), 2014 WL 2705227, at *3 (N.D. Cal. June 13, 2014); see also United

20 States v. Aslanian, 2022 WL 17419578, at *2 (C.D. Cal. Dec. 4, 2022) (granting bond

21 application when Government could not demonstrate that a defendant charged in

22 connection with a murder-for-hire plot would pose a threat to the community).

23         The charged offense of wire fraud does not shift the burden of proof to
24 Mr. Kamon or trigger any presumption of detention.1 To the contrary, defendants

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26  Section 3142(e)(2) of the Act enumerates which offenses trigger such an event. Such
   offenses include, but are not limited to, crimes of violence, offenses which have a
27 maximum sentence of life imprisonment or death, and felonies which involve a minor
   victim or involve use of a firearm.
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 1 charged with non-violent crimes are presumed to be bail eligible. See United States v.

 2 Madoff, 586 F. Supp. 2d 240, 247 (S.D.N.Y. 2009) (“In most cases, release is the

 3 presumptive state.”). Wire fraud is not a crime of violence under the Act. See United

 4 States v. Gan, 2013 WL 1345733, at *3 (N.D. Cal. Apr. 2, 2013) (conducting a survey

 5 of cases and stating that “the court has not uncovered one case holding that wire fraud,

 6 however pervasive or damaging, is sufficient to trigger a hearing pursuant to the ‘crime

 7 of violence’ provision” of the Act). And the Act acknowledges that defendants are

 8 entitled to the presumption of innocence, 18 U.S.C. § 3142(j), which is inconsistent

 9 with pre-trial detention. See Motamedi, 767 F.2d at 1407 (noting that there is a

10 presumption of innocence with the corollary being “that the right to bail should be

11 denied only for the strongest of reasons”).

12         As for determining whether a defendant is a flight risk, courts can take numerous
13 considerations into account in reaching a final conclusion. See generally United States

14 v. Vasquez-Benitez, 919 F.3d 546 (D.C. Cir. 2019). The Ninth Circuit has stated that,

15 of the four factors, the weight of the evidence against a defendant is “the least

16 important of the various factors.” Motamedi, 767 F.2d at 1408. And it is persuasive

17 when a defendant was already aware of an investigation prior to his arrest and did not

18 evade arrest. See id.

19 IV.     Mr. Kamon’s Proposed Bond Proposal is More Than Sufficient to Ensure
20         His Appearances
21         Here, under the case law outlined above, the Government cannot meet its burden
22 under the Act of proving that Mr. Kamon is a threat to the community or a flight risk

23 such that pre-trial release should be withheld.

24         First, Mr. Kamon is afforded a presumption of release under the Act. Given his
25 presumed innocence, “the weight of the evidence” against Mr. Kamon cannot justify

26 his detention alone. Rather, it is the Government’s burden to prove otherwise. The

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 1 only possible reason the Government has suggested against Mr. Kamon’s release is

 2 that he may be a flight risk. However, that argument lacks merit.

 3         Each of the four factors under 3142(g) strongly favors pre-trial release. As
 4 stated above, wire fraud is not “a crime of violence,” and thus no presumption of

 5 detention applies under the first factor. The second factor, the weight of the evidence

 6 of the underlying crime against Mr. Kamon, is the least persuasive of all four factors.

 7 And, as detailed below, much of the Government’s evidence supporting the notion that

 8 Mr. Kamon is a flight risk is unreliable and from a biased source.

 9         The third factor, Mr. Kamon’s “history and characteristics,” is the most
10 important to the analysis and decidedly supports pre-trial release. Mr. Kamon has no

11 prior criminal history and was gainfully employed by the Firm for over 20 years. He

12 has known about the ongoing litigation related to the Firm and was cooperative with

13 the bankruptcy trustee. He has also been aware of the Government’s investigation for

14 years and made no attempt to hide. On the contrary, on several occasions, his counsel

15 reached out to representatives of the Department of Justice to discuss the status of the

16 investigation on his behalf. The Department of Justice chose not to engage with Mr.

17 Kamon’s counsel. At no time did any representative of the Department of Justice

18 suggest that Mr. Kamon: (1) was a target of the investigation; (2) was likely to be

19 arrested; or (3) should not travel outside the District.

20         The Government, relying uncritically on hearsay information purportedly
21 provided by a motivated witness, suggests that Mr. Kamon’s move to The Bahamas

22 may have been an effort to avoid prosecution. But how could it be? Each step taken

23 by Mr. Kamon was open and transparent. His intent to start a new life in The Bahamas

24 was openly shared with his family and friends, who were planning to visit him for the

25 holidays. No one in his family believed his location to be a secret. And, tellingly,

26 even the witness on which the Government relies never states that she was told to stay

27 silent about his whereabouts.         Rather, she was told by Mr. Kamon that he was
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 1 relocating to The Bahamas, and there is no suggestion by that witness that Mr. Kamon

 2 told her to conceal his whereabouts or to in any way provide false information to the

 3 government. To the contrary, he invited her to visit him in The Bahamas – which she

 4 did.

 5         To that end, Mr. Kamon sold his real property in open transactions, using
 6 established real estate professionals using his true name. The same is true with the

 7 purchase of his home in The Bahamas. He also used his true name to seek residency

 8 in The Bahamas. He travelled back and forth from The Bahamas to his sister’s home

 9 in Baltimore, Maryland using his U.S.-issued passport in his true name on multiple

10 occasions. And importantly, he began this back-and-forth process several months

11 prior to the Government contacting the witness upon which it relies to seek Mr.

12 Kamon’s detention. That timing alone calls into serious question any Government

13 proposition that Mr. Kamon’s actions were nefarious in any way.

14         Further, The Bahamas is a small country, with strong ties to the United States.
15 Perhaps most important, it has an extradition treaty that has been used widely by the

16 United States over the years. See Extradition Treaty Between The Government Of

17 The United States Of America And The Government Of The Commonwealth Of The

18 Bahamas, Bah.-U.S., Mar. 9, 1990, T.I.A.S. No. 94-922. None of Mr. Kamon’s

19 objective behavior suggests that he was trying to abscond from justice. It all was

20 consistent with a person who was simply trying to make a fresh start in a new country

21 with close ties to the United States.

22         In a hearing last month in Maryland, the Government raised several additional,
23 unpersuasive arguments as to why Mr. Kamon is a flight risk. The Government noted

24 that Mr. Kamon has traveled internationally to multiple countries over the past two

25 decades. But taking vacations overseas bears absolutely no relevance as to whether

26 someone will comply with conditions of release. The Government also represented

27 that Mr. Kamon had four phones with him when he arrived in Baltimore and was

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 1         Given the above, we respectfully request that the Court grant Mr. Kamon’s
 2 request for pre-trial release based upon the above conditions. He is not a flight risk,

 3 and the proposed bond conditions are more than sufficient to provide additional

 4 comfort that he will appear for all scheduled hearings in this matter. As the Court is

 5 aware, it is very difficult preparing a defense when the defendant is in custody. It is

 6 even more difficult during these continued times of the COVID pandemic.

 7 V.      Conclusion
 8         Therefore, Mr. Kamon respectfully submits that his proposed property bonds
 9 and bail conditions are more than sufficient to satisfy the Government’s concerns and

10 requests that the proposed bond package be approved by this Court.

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12 DATED: December 23, 2022              Respectfully submitted,
13                                       SKADDEN, ARPS, SLATE, MEAGHER &
                                         FLOM LLP
14
                                                      /s/ Jack P. DiCanio
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                                                          Jack P. DiCanio
16                                        Attorneys for Defendant Christopher K. Kamon
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 1                            CERTIFICATE OF COMPLIANCE
 2         The undersigned, counsel of record for Defendant Christopher K. Kamon,
 3 certifies that this brief contains 3,249 words, which complies with the word limit of

 4 L.R. 11-6.1.

 5

 6 DATED: December 23, 2022                               /s/ Jack P. DiCanio
 7                                                      JACK P. DICANIO

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          DEFENDANT’S MEMORANDUM IN SUPPORT OF PRE-TRIAL RELEASE AND
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